                     EXHIBIT D




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                                    TENNESSEE DEPARTMENT OF CORRECTION
                                              UNIT REVIEW PANEL HEARING
                                                        OJRC
                                                              lrJ§IIiihkJi
                      Pike, Christa Gail                                             261368                            B
        Inmate Name       L8$l Fi1"5lP.llJtii (1¥.ase Prlno                          WWWI                         Current level


  Summary of inmate's current circumstances and comments regarding program le\lel:
 Met with Offender Pike 261368 on 12/22/21, last disciplinary was on 6/24/20 for POR.
 Offender is currently a Level B offender approved by Warden Fisher.


 HEARING DATE:            12/22/2021              REPORTING PERIOD             from   06/28/2021           to    12/21/2021

  ACTION TAKEN BY PANEL;

     --✓-- Recommend continue at current level
     Al               Recopiroend level change tq Le11e1A-



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 wants to be able to use the phone dally since she can't have a job. She requested to meet
 with the Unit manager before her next review to discuss some topics relating to a upcoming
 legal matter. Offender stated that she was not feeling well, but was doing ok otherwise.

  UNIT MANAGER'S ACTION:                         ✓      APPROVE                               DISAPPROVE

 COMMENTS:                                      stated that he would run Inmate Pike's request by the
                           - comments were made at this time, but monitoring will continue for


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   APPROVED:          _
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  0 APPROVED                 0 DISAPPROVED                For death row inWMtu nssignt!d lof� otll� lhtrtr TPW •nd RMS/ rmly


                   Assrstant Commissioner of Operations                                                         biii
 CR-2937 (Rev. 2-06)       Original-Inmate lnstilutlonal Record            Copy-Inmate    Copy-Case Manager            ROA 1100




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